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       EXHIBIT A
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(b) The Defendant sued Plaintiff Big West prior to the broadcast of this television animation,
claiming that production costs were incurred beyond the initial plan, and that the aforementioned
production costs to be paid by Mainichi Broadcasting would be insufficient. For this reason, the
Plaintiffs and the Defendant created a memorandum (B 3) on October 1, 1982, which gave the
Defendant part of the profit from the commercialized business as well as overseas broadcast
distribution rights and [overseas] merchandising rights, in order to apply these to the shortfall in
the production costs
        Based on the above memorandum, it was agreed that the contact points to exercise the
rights would be Plaintiff Big West for merchandising of characters etc. and selling programs for
reruns in Japan, Defendant for publications aimed at 6th graders and below, music, overseas
distribution rights and general merchandising rights, and Plaintiff Studio Nue for publications
aimed at junior-high schoolers and above; and for each of the subjects, the ratio for allocating
profits among Plaintiffs and Defendant was decided (Mainichi Broadcasting was also allocated
profits from domestic merchandising rights, and Defendant received all profits from exercising,
etc. merchandising rights overseas).
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